
The
Chief Justice
delivered the opinion of the court
The amercement of -a sheriff is founded upon his neglect, or refusal, or omission to perform some prescribed duty. By the 22d section of the act concerning sheriffs, Rev. Laws 241, it is enacted “ That if any sheriff or coroner shall neglect or refuse *321ío execute any writ of execution to him directed, and which hath or shall come to his hands, or where the execution shall be by fieri facias, shall neglect to file a just and true inventory of the goods and chatties, lands and tenements, so taken in execution, unless such sheriff or coroner return that he hath levied to the value of the debt or damages and costs; or shall voluntarily or negligently omit, for the space of two months, rendering to the plaintiff or plaintiffs, his, her, or their representative or attorney, the money which he shall have received from the sale of the estate of the defendant or otherwise, he shall be amerced in the value of the debt, or damages, and costs to the use of the said plaintiff or plaintiffs.”
In the case before us, the breach of duty charged upon the sheriff is, the omission to pay over the money collected and received by him under an execution ; and to establish legally this charge, it must have been shewn that he voluntarily or negligently omitted to render the same to the plaintiff or his representative or attorney. Before an amercement can be ordered, ten day’s notice in writing of the motion is required to be given, to the sheriff, for the two-fold purpose of enabling him to prepare to resist it, if undeserved, or to prevent it by making payment. The facts of the case as presented to us by the statement of the parties, are these : Mason S. Gibbons instituted a suit in the Common Pleas of Salem, by process returnable to March term 1827, upon a promissory note; on which suit judgment was obtained at the ensuing term of September. After the commencement of the suit, Gibbons assigned on the 16th of February 1827 all his interest in the note to James Brooks, and he on the 15th of June of the same year, assigned all his interest in the same to Daniel L. Miller and John Cooper. The suit was prosecuted for the use of Miller and Cooper, but the name of Gibbons was used throughout the proceedings; and neither the assignment nor the interest of Miller and Cooper was mentioned on any one of them, nor upon the execution which was issued on the judgment and delivered to the sheriff. No proof was made before the Court of Common Pleas, on the application for amercement, that the sheriff ever knew, or had received notice of the assignment to Brooks, or to Miller and Cooper, nor does it appear by the state of the case that any demand of payment of the sheriff was ever made by either of them- Mason S. *322Gibbons was discharged as an insolvent debtor, agreeably to the act of the legislature, on the 16th of June 1827, and an assignment was then made by him of all his estate, real and personal to Edward Smith, the sheriff. In the notice of amercement the name of Mason.S. Gibbons was used, and no mention was made ' in or on it of Miller and Cooper.
In all these facts there is no ground work for an amercement of the sheriff. There is no foundation to sustain the charge that he voluntarily or negligently omitted to render the money to the person entitled to receive it. Was there a culpable omission to render it to Miller and Cooper ? Clearly not. Their title to claim it was not stated on the record or the execution, as already mentioned, nor in any wise notified to the sheriff. Why then .should.be have paid to them rather than to any other member of the community ? Nothing appears to have given reason to the sheriff to doubt that the interest in the suit and note passed to him by the assignment of Gibbons, and that the money when collected was subject to immediate appropriation for the benefit of his creditors. I do not mean to say it actually did so pass, nor to question or deny the validity of the assignment to Miller and Cooper, or their right to the money. On these points I express no opinion. For if it be conceded, that on the application for amercement they proved an incontestable title to the proceeds o? the execution, that proof alone did not justify the amercement ^ for they were bound to shew further that the sheriff had previously to the service of the notice of amercement voluntarily or negligently omitted to render them the money. Without the lattes fact the amercement was not legally ordered. Courts will, as was correctly remarked by the-counsel of the defendants in certiorari, take notice of and protect the rights of assignees; but they must be such as are open and avowed, not such as are latent or concealed.
Much of the scope of the argument of the defendants in certiorari, was to shew that Miller and Cooper were entitled to the money; I repeat therefore, that in deciding this case, I wish to he distinctly understood as expressing no opinion which of the parties, Miller and Cooper, or the assignee of Gibbous is entitled to tire money collected under the execution. That matter may be the subject of future litigation, and as its determination js not required to arrive at a proper conclusion here, it ought to *323ha Ml open. It is enough on the present occasion that the charge of wilful or negligent omission to render the- money to Miller and Cooper was not sustained; and the aaiercjemetU was therefore erroneously ordered.
